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ATTACHMENT B
NOTCE OF REBUTTAL TO CYNTHIA LYNN’S NOTARIZED LETTER
DATED 12/05/2023.
STOLEN PRIVATE ITEMS LIST

$177,844.84 SunRoom

InnerSoul Tranquility Liquid Sound TablVibra Acusto Table $4,999.00
Audio equipment for VAT Nixtures Amp

Amp fir sound system ti Nagbaokabs

2 mixtures

Light Stream Bio Coils $5,000.00

Level 3 Superwand, 10z 18Kt Gold, 2cuffs Light Stream Wand $12,121.00
Quartz Wand Light Stream Quartz W $8,310.28

24-Inch Base, Mantra Coil 7 levels $5,969.10

24-Inch Base, Mantra Coil 7 2 each Light Stream Quad co $5,969.10
Level 1 Sacred Staff on wall $3,128.98

LMMS Effect of Low Magnitude Mechanical Stimu

PlatinumLED Therapy Lights: BIOMAX S6 Units 900 series $1,299.00
$1,299.00

Photobio Modulation $1,299.00

$1,299.00

$1,299.00

$1,299.00

$1,299.00

BIOMAX MOBILE RACK STAND $349.00

BIOMAX MOBILE RACK STAND $349.00

Cryo Therapy $100,000.00

Magnet

Spooky2 Portable Central Generator X Pro Kit $3,109.38

Plasma ball

Ultra Sonic

PEMF Coil

Generator 2 each

Spooky2 Scalar GX Pro Essential Kit

Juvent Micro-Impact Platforms $6,995.00

SONIX PROFESSIONAL VC15 $9,995.00

Magnepan Speaker

Spooky bio mat

Spooky portable PEMF

Spooky Black box 2 each connected to computer $2,457.00
Scalar 2 black b ox es

Heaters 2each

Hour Glass Brass lRods was 1 hour

$ 53,782.99 OzoneRoom

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Ozone Steam Sauna Cabinet by Promolife $9,995.00
O3Arc Plus Digital Ozone Generator $2,495.00
O3Arc Plus Digital Ozone Generator $2,495.00

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EverFlo 5 LPM Oxygen Concentrator - New Units Ozone Concentrator $1,149.00
EverFlo 5 LPM Oxygen Concentrator - New Units Ozone Concentrator $1,149.00

Glass cubs

Silicon Cubs

E-Pulse Ultima PEMF $30,000.00

2 small Lobes $900.00 2 $1,800.00 $1,800.00

2 large lobes $900.00 2 $1,800.00 $1,800.00

1 mat

Professional Terra Wand $1,000.00

Terra Wand $500.00

Terra Box $600.00

Chi machine

eMachine

Infrared Sauna 3 units

Amp dor Mag systems

Mixture

Magnepan Speaker

Air Purifiers Mike

Fresh Air EcoHome by LT&B Fresh Air Purifier for PEMF $799.99
Ozone Cupping glass a ll Silicone Large an d small
Vigirnal

Oxygen regulator to tanks

Roller Pressure Log cylendar

Hour Glass Complete glass was a 2 hours
$14,094.99 EWOT

EWOT

Oxygen concentrator

EWOTpro Exercise With Oxygen Therapy System $995.00
Oxygen Concentrator

LiveO2 Adaptive Contrast System $5,150.00
Exercise Bike $700.00

High Intensity Training $3,999.99

New Bike

Data Storage 5 Tera Byts Hard Drives

Notebook

Orgone Stones

Sunlight Infred Sauna $3,250.00

$26,881.90 BedRoom

Camera Body Nikon D700 $2,999

Camera Body Nikon D750 $2,300

Nikon AF-S NIKKOR 24-70mm f/2.8Nikon $1,596.95
Nikon AF-S NIKKOR 70-200mm f/2.8G ED VR II Lens $2,096.95
Nikon AF-S NIKKOR 50mm f/1.4G Lens (Refurbished by Nikon USA) $359
filters

21 computer

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21 flat screen

Bob Mattress $3,280.00

io Mat Warms Ruby CGM

OrCam MyEye Pro an Al Assistant for People with Low Vision and B $4,250.00
Vue Camera

Thumb Drive Photos

7 Bulk bags of grain rice oats

Safe HallWay Closet

Bonds and Notes

Gold

Silver Liberty

Blood pressure Oxyne

Oxyhen meter

cloths $10,000.00

Credentials

Legal Papers

passport

Social Security Card

Birth Certificate

$34,598.90 Mixture

High Blood Pressure Tonic

HumFuvlic Acidic

2 units 1 in use 1 new in box

4Patriots Sun Kettle XL Solar Water Heater - Portable Thermos Flask
Sun Cure $99.95 2 $199.90 $199.90

GOSUN Fusion Solar Oven and Cooker | Hybrid Electric Grill | Porta $399.00
Mechanical Whole Body GENESIS KINETIC X8 $4,000.00
Distiller

BlendTech Builder

NutriBuillet

Juicer

Refrigerator

Books Rare 500.00 DOLLAR Medicine Paperbacl
Books from Patron

Photos from Briggette

Hemp $30,000

weights Mike 2 sets

Hemp Street value $30,000.00 Different Strains
Refrigerator 20 magnet

Box of Magnets 20

Pantry

Sound Amp Yamaha 7,1

2 mixtures

Amazon 2 circles Alexa

Cove Security system

Collection Glass Cookware

Bidet Bathroom

variants Supplements

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0 Basement

Massage bed frame

Rowing Machine Michael

Stove

2 Refrigerators

Washer

Dryer

$22,775.00 Quantum Entanglement

Spooky2 Portable Generator X Pro Remote Kit Generator Count 24
$800.00 24 $19,200.00 $19,200.00

Sliver Collidal

Computer

DAVID Digital Audio Video Int Device $575.00

PhotoBio Head $3,000.00

Lazer watch used to send signals to C.Silver

Laser Buds for ear

$69,399.00 Electro

Vibe Stretch

weights Mike 2 sets

MWO Multi Wav Hand Built 60000

Acqu Cure HydrOxy 5000

Breathing training Device Build lung capacity sitting on Acqu Cure
Massage Bed CERAGEM V4 $3,999.00

on BioMat for Original CGM Bed

Air Purifers Mike 400

Bose System Michael

Magnepan Speaker

$200,000.00 EECP

EECP (Enhanced External Counter Pulsation) $200,000.00
Bose Sound sound suppressor Headset

Small

large

Medium

Massage Bed mats 2 each 1 complete set in basement
Chess Set Michael

$1,074.00 Car

Verizon Cable Connection FIOS New in Box Unopened 375
Passport

Toughbook Panasonic Toughbook Black Cobra CF-31 MK $699.00
Software Dragon Speaks

Kurzweil 3000

Hyundai Sonata SE

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Grand Total for Stolen Private Items: $600,451.62 USD in value

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